            Case 2:02-cr-00374-JCC           Document 648       Filed 09/30/05      Page 1 of 2



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 8
                                 UNITED STATES DISTRICT COURT
 9                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
10
     UNITED STATES OF AMERICA,                 )
11                                             )                  NO. CR02-374C
                       Plaintiff,              )
12                                             )
                 v.                            )                  ORDER COMPELLING
13                                             )                  DEFENDANTS TO PROVIDE
                                               )                  VOICE EXEMPLARS
14   MAXIMILIANO VIDAL-MEDINA, and             )
     CARLOS GARIBAY DEL TORO,                  )
15                                             )
                       Defendants.             )
16    _________________________________________)
17          This matter comes before the Court on the Government’s Motion for Order Compelling
18   Defendants To Provide Voice Exemplar (Dkt. No. 625), Defendant Maximiliano Vidal-Medina’s
19   Nonopposition to Motion for Voice Exemplar (Dkt. No. 634), and Defendant Carlos Garibay Del
20   Toro’s Non-Opposition to Government’s Motion for an Order Compelling Voice Exemplar (Dkt.
21   No. 647). The Court having considered the United States’ memorandum in support of its motion,
22   the responses filed by the Defendants indicating their nonopposition, and the files and records
23   herein, hereby finds and rules as follows.
24          IT IS HEREBY ORDERED that the above-named Defendants, upon request by the
25   United States, shall furnish a voice exemplar, to be used solely as a standard of comparison to
26   determine whether Defendants are the participants in certain recorded conversations.
27   //
28   //


     Order for Voice Exemplar/CR02-374C – 1
            Case 2:02-cr-00374-JCC          Document 648        Filed 09/30/05      Page 2 of 2



 1          IT IS FURTHER ORDERED that the parties shall either agree on the method by which
 2   the voice exemplar shall be taken, or shall notify the Court that they cannot agree and schedule a
 3   hearing.
 4          DATED this 30th day of September, 2005.
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                                                          A
                                                          John C. Coughenour
 8                                                        United States District Judge
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     Order for Voice Exemplar/CR02-374C – 2
